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 5

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 8                                  UNITED STATES DISTRICT COURT

 9                                 EASTERN DISTRICT OF CALIFORNIA

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                                                        Case No.: 1:14-CR-00226-DAD-BAM-3
11   THE UNITED STATES OF AMERICA,
                                                        STIPULATION AND ORDER TO
12                    Plaintiff,                        CONTINUE SENTENCING HEARING
13          vs.
14   LEONOR SARABIA-RAMIREZ,
15                    Defendant
16

17     The Plaintiff, United States of America, by and through its Counsel of Record Kathy

18   Servatius, Assistant United States Attorney, and Defense Attorney E. Marshall Hodgkins,

19   Attorney of Record for Defendant Leonor Sarabia-Ramirez hereby stipulate as follows:

20                1. To continue the currently set sentencing date of May 21, 2018 to August 20, 2018

21                   at 10:00 am in front of the Honorable Dale A. Drozd.

22                2. The above continuance of the sentencing date is necessary in order for the defense

23                   to finish compiling certain material necessary and relevant to the sentencing.

24   IT IS SO STIPULATED.

25   Date: 5/9/18                                                 /s/ Kathy Servatius
                                                                  Kathy Servatius,
26                                                                Assistant United States Attorney
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          Case 1:14-cr-00226-DAD-BAM Document 133 Filed 05/09/18 Page 2 of 2


 1   Date: 5/9/18                                                /s/ E. Marshall Hodgkins
                                                                 E. MARSHALL HODGKINS,
 2                                                               Attorney of Record for
 3                                                               Leonor Sarabia-Ramirez

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 5                                               ORDER
 6          The court has reviewed and considered the stipulation of the parties to continue the
 7   sentencing in this case. Good cause appearing, the sentencing hearing as to the above named
 8   defendant currently scheduled for May 21, 2018, is continued until August 20, 2018, at 10:00
 9   a.m. in courtroom 5 before District Judge Dale A. Drozd.
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11   IT IS SO ORDERED.

12      Dated:      May 9, 2018
                                                      UNITED STATES DISTRICT JUDGE
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